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COUNTY DEPARTMENT, LAW I)IvisloN ;. § §
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sEAN RONAN, ) -,,; ¢ en ‘
) -;~1 ‘ "‘
Plaintiff, )
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vs. ) No.:
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HOMEDEPOTU.s.Ac,INC., ) CALhNDaF<»/Ruon H
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Defendant_ ) F'Fenilfses Li.=_it-ility
comLAINT AT LAW

 

NOW COMES the Plaintiff, SEAN RONAN, by and through his attorneys,
DEUTSCHMAN & ASSOCIA'I`ES, P.C., and complaining of the Defendant HOME
DEPOT U.S.A., INC., and states as follows'

1. That on and prior to October 22, 2008, the Det`endant, HOME DEPOT

U S A INC was a foreign corporation, authorized and doing business in the City of
Chicago, County of Cook and State of Illinois

2. That at all times herein, the Defendant, HOME DEPOT U.S.A INC

owned operated controlled, maintained and managed a I-Iome Depot store located at

2555 N Normandy, in the City of Chicago, County of Cool< and State of lllinois

3. That on October 22, 2008, the Plaintiff was a business invitee of the Horne

Depot store located at 2555 N. Nonnandy, in the City of Chicago, County of Cock and
State of Illinois.

4. That at said time and place while the Plaintiff was traversing the facility

when the Plaintiff slipped and fell on oil that leaked &oni a pipe-cutting machine The
Plaintiff was caused to, and did in fact, injure himself due to the dangerous condition, and

as a direct and proximate result of the negligence of the Def`endant in allowing said

condition to be present for an unreasonable length of time and had notice of said

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condition and failed to correct it and/or cordon off the area within a reasonable period of
time.

5. At said time and place, the Plaintiff, SEAN RONAN, was in the exercise
cf all due care and caution for his own safety.

6. Tliat at all times mentioned herein, there was in full force and effect a
certain statute of the State of Illinois commonly known as the Premises Liability Act,
Chapter 740, lllinois Comoiled Statut_e§, Section 1301 l et sequitur and this complaint is
brought pursuant to this statute.

”!. lt was the duty of the Defendant, HOME DEPOT U.S.A., INC., to
maintain the premises in such a manner so as not to cause a dangerous and hazardous
condition for the general public, including the Plaintiff herein, while traversing the
property.

8. Notwithstanding said duty, the Defendant, HOME DEPOT U.S.A., INC.,
through its duly authorized agents, servants and employees were then and there guilty of
one or more or all of the following negligent acts and/or omissions:

(a) Failed to properly maintain the premises in such a manner as to keep the
premises in a reasonably safe condition so as to allow safe passage thereon;

(b) Failed to inspect the premises to identify and rectify any dangerous and
hazardous conditions;

(e) Failed to remove and}or clean up the oil with sand, sawdust or some other
type of product used to soalc up oil so that the individuals traversing the premises would
not injure themselves;

(d) Allowed and permitted the aforementioned premises to become and
remain in a dangerous condition;

(e) Failed to warn the Plaintiff of the dangerous condition of the oil on the
floor of the premises, although the Defendant knew or in the exercise of ordinary care
should have known that said warning was reasonably necessary to prevent injury to the
Plaintiff;

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(l) Failed to provide a reasonable and safe means of ingress and egress, to,
from and across the premises; and

(g) Failed to provide barricades, cones, or any other type of warning devices
indicating that a hazardous condition existed.

9. As a direct and proximate result of one or more or all of the
aforementioned acts or negligence and carelessness on the part of the Defendant, while
the Plaintiff was walking across the premises, he slipped on oil on the floor and fell
causing severe and permanent injuries; he has suffered, and will continue to suH`er, pain
and disabilities; he has incurred, and will continue to incur, the expenditure of large sums
of money for the treatment of said injuries; he has been and will in the future be kept
from attending to his ordinary affairs and duties, he has lost, and will continue to lose
great gains and profits he otherwise would have acquired but for said injuries sustained

WHEREFORE, the Plaintiff, SEAN R.ONAN, prays for judgment against the
Defendant, I~IOME DEPOT U.S.A., INC., in a sum of money in excess of FIFTY
THOUSAND DOLLARS (350,000.00), plus costs ofsui:. '

Respectfully submitted,

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ATTORNE`YS rod PLAiNTirF

JEFFREY S. DEUTS CHMAN
DEUTSCHMAN & ASSOCLATES, P.C.
77 West Washington Street, Ste. 1525
Chicago, lL 60602

312/419-1600

Attomey No.: 40171

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STA'I'B OF ILLINOIS )

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SEAN RONAN, )
)

Plaintiff, )

)

vs. ) No.:

)

HOME DEPOT U.S.A., INC., )
)

Defendant. )

RULE 222 AFFIDAVIT

 

Pursuant to lllinois Supreme Court rule 222(b), the plaintiff states that the total of
money damages being sought in the above captioned case does exceed $50,000.00. This
affidavit shall not be admissible in evidence at trial.

Under penalties of perjury as provided by law pursuant to Section 1-109 of the
Code of Civil Procedure, Hl. Comp. Srat., ch.73 5 , section 1-109, the undersigned certifies
that the statements set forth in this First Amended Complaint at Law are true and correct,
except as to matters therein stated to be on information and belief, and as to such matters

the undersigned certifies as aforesaid that I vMe;:@:u:.`.

JEFFREY DEUTSCl-MAN
Attomey for Piaintiff

JEFFREY S. DEUTSCI-IMAN
DEUTSCHMAN & ASSOCIATES, P.C.
77 West Washington Street, Suite 1525
Chicago, IL 60602

(312) 419-1600

Atty. No. 40171

